case 1:19-cv-00310-RBW Documem 29 W/a@/W(y§g;e ?;;LW
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IN THE UNITED STATES DISTRICT CoURT y/¢ /(;
FoR THE DISTRICT oF CoLUMBIA

DAVID ANDREW CHRISTENSON Movant,

ELECTRONIC PRIVACY INFORMATION CENTER Judge Reggie B. Walton
Plaintiff,
v. Civil No. 19-810 - RBW
UNITED STATES DEPARTMENT OF JUSTICE
Defendant.

Notice of Appeal

Thank you for docketing my Motion and giving the American People a voice through me.

GODSPEED.

        

Sincerely 11 . n P.r per Person,

Box 9063
Miramar Beach, Fl. 32550
504-715-3086

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CERTIFICATE OF SERVICE
I hereby certify that on April 6th 019 1 d the foregoing With the Clerk of Court and
served thc pl ` on co of record by e-mail.
Dzmndrew Christenson

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